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                               IN THE CIRCtiIT COURT
                              THIRD JUDICIAL CIRCUIT
                             MADISON COUNTY, ILLINOIS
L M,

        Plaintiff,                       2018MR000302
vs.                                    No. 18-MR-

SOUTHERN ILLINOIS UNIVERSITY
AT EDWARDSVILLE (SIUE) and
RANDALL G. PEMBROOK, in his
official capacity as Chancellor
of SIUE,

        Defendants.
                                     SUMMONS
TO:     Southern Illinois University at Edwardsville, (serve Chancellor), Office
        of the Resg~atrar, Rendleman Hall, Room 1207, 6 Hairpin Drive,
        Edwardsville, IL 62026

      You are hereby summoned and required to file an answer in this case, or
otherwise file your appearance, in the office of the Madison County Circuit
Clerk, within 30 days after service of this summons, exclusive of the day of
service. If you fail to do so, a judgment or decree by default may be taken
against you for the relief prayed in the petition.

      This summons must be returned by the officer or other person to whom it
was given for service, with endorsement thereon of service and fees, if any,
immediately after service. If service cannot. be made, this summons shall be
returned so endorsed.

        This sununons may not be served later than 30 days after its date.

        David A. Hylla, the Cler~5tn said CircuJ..U{yourt and the seal thereof, at
Edwardsville,   Illinois, this         day of                  , 2018.




                                             Daputy Clerk


{Plaintiff's attorney or plaintiff if he is not represented by an

ERIC M. RHEIN
ERIC M. RHEIN, P.C~
6897 WEST MAIN STREET
BELLEVILLE, IL   62~-3028

Date of Service:      Dr ~    , 2018 .
(To be inserted by officer on the copy left with the defendant or other
person}




                                                                                EXHIBIT

                                                                             i A
  Case 3:18-cv-01668 Document 1-1 Filed 08/30/18 Page 2 of 49 Page ID #5
                                                                                               ***EFILED***
                                                                            Case Number 2018MR000302
                                                                                   Date: 7/23/2018 4:34 PM
                                                                                            Mark Von Nida
                                                                                     Clerk of Circuit Court
                                                           Third Judicial Circuit, Madison County Illinois


                           IN THE CIRCUIT COURT
                          THIRD JUDICIAL CIRCUIT
                         MADISON COUNTY, ILLINOIS

L M,

       Plaintiff,

vs.                                          No. 18-MR-

SOUTHERN ILLINOIS UNIVERSITY
AT EDWARDSVILLE (SIUE) and
RANDALL G. PEMBROOK, in his
official capacity as Chancellor
of SIUE,

       Defendants.

                                 COMPLAINT

       NOW COMES the Plaintiff, L M, by counsel, Eric M. Rhein,

Esq., and for his Complaint against the Defendants, Southern

Illinois University at Edwardsville (SIUE) and Randall G.

Pembrook, in his official capacity as Chancellor of SIUE, he

states unto the court as follows:

                                 I. PARTIES

       1.   Plaintiff, L M, is an individual who has been a student

at Defendant, SIUE.       He is male.

       2.   Defendant, SIUE is a general academic teaching

institution formed by the Illinois Legislature.           Defendant

Pembrook is Chancellor at SIUE.         Defendants do business in

Madison County,      Illinois.




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                            II.    INTRODUCTION

       3.   This action seeks to overturn and nullify the findings

by Defendants that Plaintiff had sexually assaulted the

Complainant(referred to as "C Mn) off the SIOE campus on

October 15, 2017.    It also seeks to enjoin Defendants from

disciplining L M based on a flawed and unlawful process, and

seeks to enjoin them from using obviously unconstitutional and

illegal sexual harassment "Policies and Proceduresn in the

future; he also seeks a declaratory judgment that the "Policies

and Proceduresu do not comport with basic due process under the

Fourteenth Amendment to the United States Constitution, and that

they violate the federal Title IX anti-gender discrimination law.

The names of Plaintiff and the Complainant have not been

identified in order to protect their privacy.

                       FACTS COMMON TO ALL COUNTS

       4.   For many months prior to October 15, 2017,      the Plaintiff

and Complainant     (a female)    had what Complainant has referred to

as an "F Buddyn or strictly sexual relationship. They did not

have a romantic relationship and never went on a formal "date."

They consented as adults to a relationship based only on having

sex.

       5.   On October 15, 2017,      in the early morning hours,   off

campus, CM came over to Plaintiff's apartment; the parties began

drinking alcohol and had sex that morning three times.         Plaintiff

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has consistently maintained that each time was consensual and not

forced. Complainant has claimed (falsely, as even SIUE's Sexual

Harassment Panel found on June 4,         2018, when it found that in

fact she HAD consented to the second and third sexual encounters;

in other words, even SIUE has found that C M's versions of

significant events in this case were not true, because if she HAD

been truthful,    SIUE would have necessarily found Plaintiff guilty

- civilly - of having assaulted C M all three times,         not just the

first time; also,    the court should be mindful that SIUE has

found, quite incredibly so, that C M consented - TWICE - to

having sex with a man who had allegedly raped her during their

first encounter on October 15, 2017)         that she had not given valid

consent to any of the October 15 sexual encounters.         It has been

Plaintiff's belief that CM claimed that she had been raped in

retaliation for L M not wanting to have a romantic relationship

with her.

     6.     At no time,   including after she was supposedly assaulted

the morning of October 15, did C M ever call the Edwardsville

Police, SIUE Police, or Illinois State Police to report having

been raped. She also did not seek treatment at any medical

facility on October 15, 2017. The reason for C M's behavior was

that she knew she had not been raped.




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     7.   CM first claimed to SIUE authorities that she had been

sexually assaulted a month after October 15, 2017; the SIUE

investigation did not begin until April of 2018.

     8. On April 25, 2018, a female investigator of SIUE,

Associate Dean Shustrin, issued a written investigatory report,

titled "Investigation report with finding with [sic] analysis."

Basic facts such as the date the investigation commenced are not

contained in the report. No explanation is given for C M's

late report of alleged sex abuse.     Shustrin found that "[t]he

investigation does not support a determination that there was

non-consensual sexual intercourse at approximately 10:00 a.m.        [on

October 15, 2017] ." However, L M was found by the "investigatoru

to have had sex with C M at a time when, due to her ingestion of

alcohol, she was not able to give knowing consent to sex, and

that L M should have known that    (even though he was also

intoxicated) .

     9. As described in paragraph 5 above,      the Sexual Harassment

Panel disagreed with the investigator's finding that the sex the

parties had at 4:00 a.m. that morning was non-consensual.

     10. L M has consistently cooperated with the SIUE

investigation and has not taken refuge behind the Fifth Amendment

to the Constitution, which was his right.

     11. However, as the court will see, SIUE's sex harassment

"Policies and Procedures"    (attached to this suit as Exhibit One

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and Two)   for investigating possible sex harassment on or off

campus do not recognize or account for an accused's right to not

cooperate or to refuse to answer questions posed by a government

investigator. This means that an accused who remains silent will

be found guilty.

     12. The "policies and procedures" also do not mandate that

the school or its employees notify police that the school has

found one of its students has committed sexual assault.

     SIUE's regulations do not even protect the identities of the

parties involved (though Plaintiff has done so in this lawsuit).

     13.    L M timely gave notice to the school that he was

appealing the investigator's first two (guilty)      findings, and the

school's Sexual Harassment Panel, composed of two female

employees and one male employee, held a hearing with live

testimony on May 18, 2018. No independent occurrence witnesses

were called, except for C M & L M.

     14. At no time did CM appeal the finding that she consented

to have sex with Plaintiff at 10:00 a.m. on October 15, 2017.

     15. Prior to the hearing, L M's counsel filed his Motion to

Dismiss the charges. The Panel never ruled on the Motion;

instead,   they ignored it.

     16. At the May 18 hearing, L M brought counsel, and C M

was not represented by a lawyer.    Plaintiff believes that one of

SIUE's staff lawyers was present during the afternoon long

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hearing.

     17. L M's lawyer was not - in accordance with the school's

"Policies and Proceduresn - permitted to utter a word at the

hearing, was not allowed to conduct a direct examination of his

client and was not allowed to cross examine C M or her other

witness (her current boyfriend) .

     18. Instead, the rules allowed counsel to submit written

questions for C M in advance, questions that the panel read to C

M, but did not follow up on.

     19. Also, the Panel asked three part questions all at once
of C M, instead of asking them one at a time; thus, often, she

was not required to answer each sub-question.

     20. Any licensed attorney, permitted to do his or her job at

a contested hearing, would have never done that; instead, counsel

- allowed to be more than a potted plant at the hearing - would

have noted other questions to ask as the Complainant had given

her direct testimony, questions that no lawyer could have

anticipated just by reading her prior statements.

     21. In short, the rules governing the conduct of the hearing

did not allow for effective or meaningful confrontation of the

witness, in violation of L M's Sixth and Fourteenth Amendment

rights.

     22.   On June 4, 2018, the Panel issued its "Sexual

Harassment Panel Appeal Hearing Report of Findings.u

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       23. The Panel found L M guilty of     ~exual   harassment of C M

the first time the parties had sex (2:00 a.m. on 10/15/17), and

found him innocent of having raped CM at 4:00 a.m. and at 10:00

a.m.

       24. In other words, the Panel has necessarily found that C M

had consensual sex with her "rapist" two times after she

originally "raped." Such a finding is not logical and is

non-sensical. It does not comport with basic notions of due

process.     It has no rational basis.

       25.   L M appealed the Panel's finding to the Chancellor and

on June 19, 2018, the Defendant, Chancellor Pembrook, upheld the

Panel's decision to discipline L M. He also specially found that

"The University's Sexual Harassment Complaint Procedures do not

call for filing motions to dismiss, and therefore, the Motion to

Dismiss filed by the Respondent was not considered." Finally, the

Chancellor found that L M "has received all due process rights

afforded by University policy."

       26. Note that Defendant Pembrook did not write that "your

client has received all of his due process rights called for by

the Constitution." The U. S. Constitution and its Amendments DO

apply to SIUE's sexual harassment policies and procedures,

because SIUE is a state sponsored and state owned institution,

and state action under the Fourteenth Amendment is implicated.




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    27.    The Motion to Dismiss brought to the attention of the

SIUE Panel and Chancellor infirmities with the school's sex

harassment policies and procedures. This is the Motion the school

refused to consider. That itself is a constitutional violation.

     28.   The Motion to Dismiss, ignored by defendants, brought

to the attention of SIUE the following substantive arguments

concerning the unfairness of and flaws in the sex harassment

"Policies and Procedures.u

     29. On the merits, the April 25 Investigation report and

findings did not contain facts which support a conclusion that,

by a preponderance of the evidence, the Respondent knew or should

have known that C M was not capable of giving consent to

voluntary sexual activity on the morning at issue.

     30. On the merits, there was no credible proof by a

preponderance of the evidence that C M did not give lawful

consent to sexual activity with L M on the morning at issue. In

fact, the credible evidence is that C M DID give consent and did

not believe that she had been raped, because she did not act like

a person who has been raped.

     31. SIU-E's Sexual Harassment "Policies & Proceduresu (2CS &

3C4) contain provisions that have no rational basis, that violate

the accused's right to be treated fundamentally fair by his

government (SIU-Eis a government owned and managed institution),

that violate his rights under the United States Constitution,

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such as his Fifth Amendment right.to remain silent, his Sixth

Amendment right to meaningfully confront his accuser, his right

to equal protection of the laws and to due process of law, under

the Fourteenth Amendment, and which are not narrowly tailored to

further the compelling state interest of deterring and punishing

sexual misconduct on campus, to wit:

     A. The policies do not have any way to punish breaches of

confidentiality, and there are no sanctions described in the

procedures to punish, for example, a losing complaining witness

for making public her accusations on social media against an

innocent Respondent.

     B. Also, no sanctions can be imposed if a losing Respondent

chooses to make his complaints with the "policies and proceduresn

public.

     C. Finally, there is no policy requiring all results of the

complaints to be confidential. A preference for confidentiality

is in the rules, to be sure, but there are no enforcement

mechanisms. There should be.

     D. The rules are also fatally flawed in that they may be

read as protecting a guilty actor from being punished criminally,

and that's not rational.




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     E. The school has no authority to exercise jurisdiction (see

"II. Scope of Policyn) as to off campus activities, where the

civil and criminal laws of the state of Illinois exist to protect

people from sexual assault and to punish perpetrators.

     F. Plaintiff notes that the state law criminal penalty for

Aggravated Criminal Sexual Assault (a crime which used to be

called "rapen) is severe: a minimum six to thirty years in

prison.

     G. Despite the significantly lower penalties for violation

of the school's sex harassment policies, the accused has less

rights than an accused rapist charged with probable cause. The

accused's rights here should be the same: the right to have

counsel actually participate openly in the proceedings, the right

to be silent, the right to receive written notice of the

Complaint, the right to effectively cross examine the accuser, in

the presence of the accused, the right to compel witnesses to

appear and to be questioned, the right to make a closing

argument, and the right to some kind of reasonable statute of

limitations (there is none at SIU-E).

     H. Finally, the accused has the right not to have all of the

rules and procedures and policies weighted heavily in favor of

the accuser. The rules should be fair and even handed, without

regard to a preferred result, and the rules must comport with



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procedural and substantive constitutional equal protection and

due process precepts.

     I. These are serious charges L M faced and the policies and

procedures must comport with the law. SIU-E is not a law unto

itself. The state legislature sets the procedures and penalties

for sex assault.   SIUE's rules do not trump the Constitution.

     J. That said, if SIU-E's rules mirrored those of the

criminal law, but with a lower (civil) standard of proof,

Respondent concedes that such a system would be lawful.

     K. The policies and procedures are needlessly complex; they

should be simple, and written in plain language, so any student

can understand them.

     L. V B 4 and VI B 2 allow for a lawyer to be present for an

accused (by the way, there should be no barrier for an accuser to

be represented by an attorney, who can question her or him and

seek to protect her client during cross examination, a cross

examination that under these policies does not exist, at least in

an adversarial sense).

     M. The entire 287 year theory of the constitutional

adversary system of justice in America is that effective cross

examination brings out truth, a theory wholly and unjustly

abandoned by SIUE, for whatever reason, by mandating that a

lawyer say nothing at the hearing, unless the lawyer is going to

testify. That's irrational and violates fundamental fairness.        In

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fact, it shocks the conscience. Why    SIU~E   developed this rule is

unknown, but the obvious effect of this rule is to allow

Complainants' versions of event to go largely unchallenged and

untested by a true adversary system, or by a lawyer whose

interest is to represent the interest of her client. The fact is

that many accusers lie, and that many accused persons lie, and

only by effective cross examination can lies be revealed, and

justice done.

     N. V F and V B 3 do not allow for the accused to confront

and cross examine his accuser directly. Instead, in sexual

violence cases (L M denies that the allegations here show sexual

violence, a term that is undefined in the "Proceduresu), the

rules require the accused to submit his intended questions to the

panel chair, and because he can be barred from the room when the

Complainant is questioned, unless a court reporter keeps a

transcript of the proceedings, he or she will never know if the

panel chair deigned to ask the questions he proposed, or followed

up on them.

     0. Asking follow up questions to answers to written

questions is key, because the variation of answers a witness can

give to a simple question are too numerous to describe.

     P. So the only way this process in this case can be fair

would be for the accused's lawyer to cross examine the witnesses.

     Q. The reason why the accused should be present is so he or

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she can hear the accuser's testimony anq give counsel information

with which to further question her. Also, the accuser should

testify first in the Respondent's presence, so he knows what he

has to rebut, if anything.

     R. So if Respondent hears the testimony of the alleged

victim live, it puts him or her in the position of agreeing with

all or part of the accuser's version of the events, or pointing

out areas of disagreement.

     S. Instead, L M was called by the panel as a witness first,

before C M was called.    There is no presumption of innocence

contained in SIUE's rules.

     T. SIU-E's procedures are irrational; they make no sense.

They also make no sense is a non-sexual violence case, where the

accused may be allowed to directly question his alleged victim.

That can't possibly be sensitive to the alleged victim.

     U. But, once again, competent and experienced attorneys

representing either side often know how to bring out facts

without offending or embarrassing alleged victims, and that would

be a sound and rational policy position for SIU-E to have. But it

doesn't. That's irrational and counter productive and does not

protect a truth telling victim from being victimized again in the

board room. This policy is indefensible.

     V. There is no evidence that the panel members, while being

highly educated, are trained and experienced cross examiners.

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They were not trial lawyers.    And·how can they be "objectiven

when they have been provided with the Investigator's conclusion

of guilt in advance of the hearing? Plaintiff's right to neutral

and detached fact finders has been violated.

    W. V F does not allow for any meaningful cross examination

of the alleged victim. It allows for only the presentation of

witnesses and evidence.

     X. V B 4 is one of the most blatant and illegal parts of the

"Procedures.n It chooses not to recognize the accused's Fifth

Amendment right as an accused to stand silent and not testify in

the proceedings. The rules state that he or she "is responsible

for participating in the investigatory process." It is hard to

believe that the lawyers for the school who devised or approved

these rules are so ignorant of basic constitutional protections.

Willfully ignorant, it seems.

     Y. Compelled testimony of the accused is simply Soviet style

"justice," which is no justice at all. This process is designed

to be a road to conviction and punishment; it is not an even

handed and fair search for what is true.

     Z. So if an accused wants to put his accuser to the test of

the crucible of cross examination by a competent lawyer, if he or

she wants to remain silent and make the complaining witness make

his or her case, he cannot do that at SIU-E. He must - if he

wants to remain a student there - give the school investigator a

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statement, a statement that withoBt doubt could be subpoenaed by

local prosecutors or police to make a case to take the liberty of

the accused.   Plaintiff was also called by the panel as its first

witness.   Had he refused to testify, he would have been deemed a

"non-cooperatorn and would have been found guilty.

     AA. SIU-E, however, is part of the United States, and

constitutional law and civil rights trump this process,

especially because a truly fair and just system of rules could

have been devised. But that system does not exist at SIU-E.

Instead, with these "rules" in place, the path to finding all

alleged victims credible is clear. And the fact is not all who

claim sex assault are credible, as the court can see in the case

at bar.

     BB. Under rule V, there is no requirement that a Complaint

be in writing. The rules do not allow for fair notice to the

accused as to what the allegations against her or him are.

     CC. Under rule V J, the accused only has five days to

appeal. This time period is mandated throughout the rules. Such a

period is too short and is not fair. Especially because if the

accused seeks the counsel of a busy lawyer, he or she may not be

able to meet the deadline for filing an effective appeal.

Respondent submits that these short time limitations are assigned

to disfavor the accused and to favor the process and the accuser.

They are irrational and unfair. Even convicted rapists have

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thirty days to appeal, under state law.

     DD. As to the make up of the SHP (the panel), rule VI A

states that there shall be "gender equity representation." This

term goes undefined.

     EE. Does it mean that the three person panel cannot be

weighted toward a male accused? Does it mean that C M has a right

to have two women on the panel?     She did.

     FF. All this is sexist, because it stereo-typically assumes

that a panel member of a certain gender will always vote for the

side with whom they share a gender.

     GG. In fact,   there was one male on Plaintiff's panel, and

two females.

     HH. While the Fourteenth Amendment certainly prohibits

sexual discrimination in adjudications (a laudable and entirely

legal concept), the "gender equity representation" clause is

undefined and makes no sense.

     II. Respondent would note that many prosecutors of rape

defendants would like to see many men on the jury, thinking that

sometimes men are more protective of some victims, while female

jurors may be too judgmental of the conduct of some female

alleged victims.

     JJ. So the sensible and fair way to select a panel of three

from the whole group of twelve would be to have six men and six

women on the panel of twelve and then randomly select three to

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sit on a given case, without regaEd to gender. Like with race,

government must be color blind when it comes to gender, and not

favor one over another, as all are equal.

     KK. There is no compulsory process or any way to subpoena

witnesses. Such a fact could be cured by the simple filing of a

civil case in the Circuit Court by the school against a

Respondent. But then all civil rules of basic due process would

apply, and the faculty of the University would lose control of

the process, something they obviously have no intention of doing.

     LL. Rule VI B 4 does not allow a person accused of sexual

violence to confront and cross examine his accuser. Once again,

with counsel truly involved, a layer of protection would be given

the accused, the accuser and to the process. Once again, "sexual

violence" is not defined.

     MM. "H" and "XI" are attempted "savings clauses" and state

that "substantial compliance [undefined] with these procedures

shall be deemed full compliance if the party challenging the

procedures has suffered no substantial harm caused by the actual

process used."

     NN. First, this seems to be an acknowledgment by SIU-E that

school officials KNOW that these procedures are unlawful.

     00. But being found guilty under an unfair and illegal set

of rules automatically causes substantial harm. What the rules

seem to mean is this: "it doesn't matter if these rules are

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illegal, so long as a guilty student is.found guilty." This very

statement stands the Fourteenth Amendment on its head. Civil

rights exist to guarantee fairness, whenever government takes

property or liberty. That's why they're called "rights."

     PP. So the people who drafted and approved these rules think

it's acceptable if the accused is compelled to give the school a

statement, that he be compelled to "participate" in the

investigation, that he have a lawyer who (in the words of

attorney for Oliver North, Brendan Sullivan, before the 1986

Iran-Contra Committee) is a "potted plant," who has no right to

effectively confront the accuser, and who have no problem that

some type of quota system is used to compose the panels.

    QQ. As to the substantive "Policies and Procedures," where

"offenses" are defined,    (2 C 13 and 3 C 14) and where "consent" is

purported to be defined:

     1. The "consent after drinking alcohol" rules do not comport

with Illinois civil or criminal law. A rough but accurate summary

of SIU-E's rules is to this effect: "if you have been drinking,

you can't lawfully have sex." That is not the law of the outside

world, and the events of October 14 to 15, 2017 between these two

"F Buddies," each of whom drank enough to make them vomit at some

point in the proceedings, occurred off campus,      IN the outside

world of the normal and rational law of consent.

     2. Simply put, there is no evidence in the report that L M

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knew or should have known that C M was not capable of giving

consent.

     3. Plaintiff asked the Panel     (in his ignored and unruled on

Motion to Dismiss) to ask themselves, "if C M thought she had

been raped [a most serious offense,     just short of murder,    in the

opinion of L M's counsel), why 'take control'      [C M's word) of the

situation and have voluntary sex the third time they had sex that

morning, why didn't she call 911 or the Edwardsville Police, why

didn't she immediately go to the hospital to be evaluated and

treated, so obviously potential evidence could have been properly

preserved?u

     4. L M has the answer: she did not act like a rape victim

because she knew that she had consented to all of the intercourse

and oral sex.

     5. As to her possible or likely motive to account for why

she would falsely claim rape twenty-four (24) days later when in

fact she had indicated real consent, L M's explanation is that C

M wanted a more romantic and real relationship with him (instead

of just being a "hook up"). L M wanted no part of that,        so he

believes she came after him, using the SIU-E "adjudication"

process, and ignored the state criminal justice system, a system

that would have fully investigated her claims but likely would

have not charged L M with any crime.




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     6. SIU-E's "consentu rule does not allow for valid consent

to be given when the man involved receives definite body language

signals from his long time partner that she wanted sex. That is

what he took C M's "grindingu into his pelvis to mean: definite

consent. What's next for SIU-E? Requiring written consent? Video-

taped consent? That would actually make more sense than the

current rules.

     RR. Under VI F 1, there is absolutely no statute of

limitations for making a sex harassment or sex assault Complaint

at SIU-E. So by the very terms of the rule, someone could

graduate with a degree in 2018 and then when they are 50 years

old, someone with whom they had had a sexual relationship or

encounter could claim that she or he had been assaulted. That's

irrational. Now if the rules have stated that the person

aggrieved has four years from the incident date in which to file

a formal written Complaint, then Respondent would concede that

that type of reasonable limitations period would be lawful. But

there is no reason not to have any limitations period at all.

     SS. As to the "amnesty provision,u where a claimed victim is

off the University hook for violating the school's alcohol use

policy, but the accused isn't granted that same immunity, that's

obviously unfair and uncalled for.    It treats the accuser class

differently and more favorably than the class of accused

students.

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     COUNT I. SEEKING A DECLARATORY JUDGMENT UNDER 42 USC 1983
THAT SIUE'S SEX HARASSMENT POLICIES AND PROCEDURES VIOLATE DUE
PROCESS AND THAT THE POLICIES AND PROCEDURES, AS APPLIED TO THE
PLAINTIFF, VIOLATED HIS CONSTITUTIONAL RIGHTS.

     32. The portions of the "Policies and Procedures" described

in "Fact Common to all Counts" violate the accused students'

rights under the Fifth, Sixth and Fourteenth Amendments to the

Constitution.

     33. As applied in the case of the Plaintiff, his due process

rights were violated by the use of the school's "Policies and

Practices," as described above. Also, by finding that the

Complainant was not honest when she has falsely claimed that she

had been raped at 4:00 a.m. and 10:00 a.m., the Panel and

Chancellor credited the word of an untruthful complainant when

they found him guilty of having sex with C M against her will at

2:00 a.m. on October 15, 2017.

     34. He has consistently maintained his innocence, and that

at all times, when he had sex with C M, C M was a knowing and

consenting participant in sexual activities.

     35. In short, he had sex with her pursuant to their past

practice because they each wanted to have sex with each other.

SIUE's "rules" about having sex after ingesting alcohol in effect

(if they are valid) outlaw ANY sexual activity between college

student who have drank alcohol or taken recreational drugs, and

that is not the law.


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     36. Plaintiff notes that if the school's rules on consent

and alcohol use mirrored Illinois criminal common and statutory

law (the law which applies to off campus activities in any

event), he would have no complaint. But they don't.

     37.   SIUE's rules and practices and procedures applying to

the sexual activities of SIUE student are weighted in favor of

almost always finding that sex by two students who are

intoxicated is "nonconsensual" and therefore the basis for

finding that a student is guilty of "sexual assault" or "sexual

harassment," even in cases - like this one - in which students

get drunk and become intimate.

     WHEREFORE, Plaintiff prays that the court declare that the

relevant SIUE sexual harassment rules and "Policies and

Procedures" are unconstitutional, that the court vacate the

"guilty" findings and declare that he was not guilty of sexually

assaulting CM at any time on October 15, 2017, and he prays that

he be awarded all of his reasonable and necessary attorney's fees

and litigation costs, under 42 U.S.C Section 1988.

COUNT II. SEEKING INJUNCTIVE RELIEF UNDER 42 use SECTION 1983

     NOW COMES the Plaintiff, L M, by his counsel, and for Count

II of his Complaint against both defendants states:

     38. If the court grants him declaratory relief pursuant to

Count I, then Plaintiff request an injunction against SIUE using

or enforcing its relevant sex harassment rules and "Policies and

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          Procedures," against him or any other    s~udent   in the future, as

          they violate the state and federal Constitutions, and without

          injunctive relief being issued, he has no adequate remedy at law,

          and he will suffer the irreparable harm of being labeled a

          "rapist" or "sexual assaulter,, or "sexual harasser," when no such

          labels are justified.

               39. In short, money damages only will not adequately

          compensate him for his losses (described in the alternative in

          Count III, which seeks money damages in this case).

               40. Finally, the balance of equities favor the position of

          the Plaintiff, and not the school, as Illinois state law on

          sexual assault will be in force to protect the rights of students

          to not in fact be the victims of sexual assault, even if the

          school is enjoined form utilizing its sexual harassment rules and

          "Policies and Procedures.,,

               WHEREFORE, the Plaintiff prays the the defendants be

          enjoined, per 42 USC Section 1983, from using or enforcing their

          current unlawful and unconstitutional sex harassment rules and

          "Policies and Procedures" at SIUE, and he prays for an award of

          Section 1988 reasonable and necessary legal fees and litigation

          costs, and he prays for such other and further relief which the

          court deems just.




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COUNT III. SEEKING AN AWARD, IN THE    ALT~RNATIVE,   OF COMPENSATORY
DAMAGES UNDER 42 USC SECTION 1983

        NOW COMES the Plaintiff, L M, by counsel, and for Count III

of his Complaint against the defendants, states unto the court as
follows:

        41. Plaintiff restates and realleges all of the allegations

in the section of this suit labeled "Facts Common to All Counts"

as though fully set out herein.

        42. Plaintiff in this count seeks an award - in the

alternative - of compensatory monetary damages by reason of the

Defendants' violation of his civil rights as described.

        43. Plaintiff has suffered the following damages and or

losses, as a result of Defendants' violation of his civil rights:

        A. He has been wrongfully labeled a "sexual assaulter" and

"sexual harasser" by Defendants, even though he is innocent.

        B. Because of the false allegations hanging over his head,

he was forced to graduate early, in three years, in May of this

year.

        C. He has been pushed to attend a graduate program at

another school, a school he would rather not be attending, in

order to keep and maintain and use a third party scholarship.

        D. Plaintiff has been forced out of attending SIUE for a

fourth year, a year he had wanted to attend, a year that, when




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completed, would have made him more marketable to graduate

programs.

     E. Plaintiff has been forced to lose out on a final and

fourth year of FAFSA funding.

     F. Plaintiff has lost multiple fourth year scholarships.

     G. Plaintiff has suffered the stress of being falsely

accused, and has suffered damage to his reputation, and has

suffered mental anguish.

     H. He has been forced to forfeit his association with SIUE

Housing after he had volunteered several semesters to that

organization and had earned National Residence Hall honor.

     WHEREFORE,   the Plaintiff prays for an award of compensatory

damages against each defendant in an amount exceeding $50,000.00.

COUNT IV.  SEEKING DAMAGES FOR VIOLATION OF TITLE IX, 20 U.S.C.
SECTION 1681, ET SEQ. - DISPARATE TREATMENT BASED ON SEX

     44.    Plaintiff repeats and re-alleges the Facts Common to

All Counts.

     45.    Title IX, 20 U.S.C. Section 1681, et seq., prohibits

discrimination in educational institutions on the basis of sex if

any part of such an educational institution receives federal

funds of any kind.    SIUE receives federal funding in the form of,

inter alia, student loans and other monetary grants given to

students and faculty members.




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     46.   Both the United States     Depart~ent   of Education and the

United States Department of Justice have promulgated regulations

under Title IX that require a educational institution to put in

place grievance procedures providing for the adjudication of

sexual misconduct claims by students.       See 28 C.F.R. Section

54.135(b); 34 C.F.R. Section 106.8(b).       These procedures must

afford due process to the parties involved and, at a minimum,

provide "adequate, reliable, and impartial investigation of

complaints."     See generally U.S. Dep't of Ed., Office of Civil

Rights, revised Sexual Harassment Guidance: Harassment of

Students by School Employees, Other Students, or Third Parties -

Tile IX (2001)    (emphasis added).

     47.   In the manner in which it approaches the investigation,

adjudication, and appeal of allegations of sexual misconduct,

SIUE creates an environment in which male students accused of

sexual misconduct are nearly assured of a finding of

responsibility. This denies the accused his fundamental due

process rights and deprive these male students of educational

opportunities solely on the basis of their sex.

     48.   More specifically with regard to the matter at bar, L M

is a male student of SIUE, accused of sexual misconduct.         He was

subject to these aforementioned discriminatory practices as a

result of the University's sexual misconduct disciplinary

process.   As described more fully infra, L M Has been stigmatized

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as a result of his gender, while GM     wa~   viewed as a "victim,"

even before any adjudication of the sexual misconduct allegations

against him took place.    Furthermore, L M's testimony was totally

discounted while C M's contradictory testimony was deemed more

reliable without reason. Even considering C M's second and third

voluntary sex acts with L M, the SIUE administrative hearing

panel inexplicably found L M responsible.       This discrimination

was based so1e1y on his gender, in violation of Title IX.

     49.   As a direct and proximate result of SIUE's unlawful sex

discrimination against L M, he has and will continue to suffer

harm, injury, and damages.     Such harm, injury, and damages

include, but are not limited to, denial of educational

opportunities, loss of scholarship funds,      inability to transfer

to other educational institutions, reputational damages including

his standing in his corrununity, loss of career opportunities and

further earning capacity, humiliation and embarrassment, and

mental and emotional distress.

     50.   Accordingly, SIUE is liable to L M for discrimination

against him solely on the basis of his sex, in direct

contravention of Title IX. SIUE is therefore liable to L M for

all damages allowed to him thereunder, including compensatory

damages, punitive damages, and attorney's fees.




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        WHEREFORE, the Plaintiff prays for an award in excess of

$50,000.00 in compensatory damages, plus costs and attorney's

fees.

COUNT V - SEEKING DAMAGES FOR VIOLATION OF TITLE IX, 20 U.S.C.
SECTION 1681, ET SEQ.- DISPARATE IMPACT BASED ON SEX

        51.   Plaintiff repeats and re-alleges Facts Common to All

Counts.

        52.   In the manner in which it approaches the investigation,

adjudication, and appeal of allegations of sexual misconduct,

SIUE creates an environment in which the accused is nearly

assured of a finding of responsibility.       Upon information and

belief, the accused is a male in virtually all cases of

allegations of sexual misconduct at SIUE.       Therefore, SIUE's

sexual misconduct disciplinary process has a disparate impact on

male students.

        53.   Defendant, SIUE, has not provided a legally sufficient

rationale for creating and applying different standards for the

accused and the accuser in a sexual misconduct matter.

Furthermore, there is no legitimate basis for these different

standards.      The disparate standard denies the accused his

fundamental due process rights and deprives these male students

of educational opportunities solely on the basis of their sex.

        54.   More specifically with regard to the matter at bar, L M

is a male student at SIUE accused of sexual misconduct.         He was


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subject to these aforementioned discriminatory practices as a

result of the University's sexual misconduct disciplinary

process.   As described more fully infra, he was stigmatized as a

result of being accused of sexual misconduct while C M was viewed

as a "victimn even before any adjudication of the sexual

misconduct allegations against L M took place. Furthermore, L M's

testimony as the accused was discounted while C M's testimony as

accuser was deemed more reliable without reason.       Even

considering C M's second and third voluntary sex acts with L M,

and how they were juxtaposed against what she purported was

resistance to the first act of sexual intercourse, the SIUE

administrative hearing panel inexplicably found L M responsible.

Male students bear the brunt of this disparate impact because

males are disparately accused of sexual misconduct at SIUE.

     55.   As a direct and proximate result of the University's

unlawful sex discrimination against L M, he has and will continue

to suffer harm, injury, and damages.      Such harm,   injury, and

damages include, but are not limited to, denial of educational

opportunities, loss of scholarship funds,      inability to transfer

to other educational institutions, reputational damages including

to his standing in his community, loss of career opportunities

and future earning capacity, humiliation and embarrassment, and

mental and emotional distress.



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        56.   Accordingly, SIOE is liable   ~o   L M for discrimination

against him solely on the basis of his sex, in direct

contravention of Title IX.      SIOE is therefore liable to L M for

all damages allowed to him thereunder, including compensatory

damages, punitive damages, and attorney's fees.

        WHEREFORE, the Plaintiff prays for an award in excess of

$50,000.00 in compensatory damages, plus costs and attorney's

fees.

COUNT VI - SEEKING ADMINISTRATIVE REVIEW AND RELIEF AND VACATION

OF THE ADVERSE DETERMINATION OF SIUE AND DEFENDANT PEMBROOK OF

JUNE 19, 2018

        NOW COMES the Plaintiff, L M, by counsel, Eric M. Rhein, and

for Count VI of his Complaint against the Defendants, SIU-E and

Chancellor Pembrook, seeking relief under 735 ILCS, Chapter 5,

Article III, the Illinois Administrative Review Act, and he

states:

        57. Plaintiff hereby repeats and re-alleges all factual

allegations he has written herein, in the section called "Facts

Common to All Counts," as though fully set out herein.

        58. The Chancellor's June 19, 2018 written decision is an

"administrative decision" by an "administrative agency"         (SIO-E)

under the Illinois Administrative Review Act.

        59. Plaintiff seeks the vacation and annulment of that

decision in this court, as it is devoid of substantial evidence

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to support it.

     60. The award is based on insufficient evidence, for the

reasons stated in the "Facts Common to All Counts."

     61. The record is devoid of evidence insufficient to prove

the guilt of Plaintiff by a preponderance of the evidence.

     62. The underlying determination of the state agency is

based on "seriously controverted evidence," in a "he said/she

said" set of facts, a determination not supported by a report to

police or any physical or first hand medical evidence. See In re

Matter of Hill, cited below.

     63. The determination should also be vacated and annulled

because of the Defendants' "cavalier attitude toward the

accused's due process rights." See written opinion of the

Appellate Division of the Supreme Court of New York, 811 TP

18-00205, in In the Matter of Tyrone Hill v. State University of

New York (slip op. dated July 6, 2018.

     WHEREFORE, Plaintiff prays that the court annul and vacate

the June 19, 2018 adverse determination by Defendants that

Plaintiff has sexually assaulted CM on October 15, 2017, and

expunge all references to the charge from his school record and

transcript, and he prays for all such and further relief that the

court deems just.




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Policies & Procedures
Miscellaneous




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Policies & Procedures - Miscellaneous - Scxuul Assault. s~·xual Misconduct and Relation ... Page 2of11


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         lV. Understanding Consent and Related Definitions

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              ,,f verbal     or phys1ca~ re-s•stanre fJr subn1iSStC.n !"~Suit:·'q frc:im tn.; us-:- ''.J.t 'ur 1. \ · ·;r \.-·,,.~;:t or "~)'t:•• ·;y t:h.., ~CCl.1$t:-O s•1all
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              Guidance for Consent:
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    Case 3:18-cv-01668 Document 1-1 Filed 08/30/18 Page 36 of 49 Page ID #39
Policies & Proct:dures - Miscellan~ous - Sexual Assault. St•xual Misconduct anJ Relation ... Page 3 of 11



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                                   B. Confidential Campus Resources

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            ·1:   Reporting Options

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#1.:>,/f-/JJ£ -
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             The University            na~ HdOh~                 rn-e     fenc,·an~ a·,rj;,.•.\!;,Jc(:tl 2\$. iV' l;,_S~rf.U'H~1.                                Titie l?          C~onJ1t'VH<>r             wh(l        (Z;il   {'l!;)C
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           f3. Other campus Reporting Contact:;;

              Th<! un.vcr5t(\' 'l!(.cy!HU::J. however.                                   that~ ~~hJ0 1-::::i               or t_:•n;.1tt)·,s"":.. !niJr                  ct·.D~'iC           :o (Dt'if:de in "tlY
              eni~lf-oycc of tht~ Uruvers1t1'- Fof C"'-d:;nLJk:, (~ :i~ .;d.r:=nt tY\i1·1 (t'h.Ji)S•.;                                                      t..:> c..:n1fid2            ,~, d:t i'.!ep(1rtn1ent           chdrr,      ii
              re~icJent a~sis.taPt,              a   !ac~Hy
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              confiac in a supervisor- or c:ol11:,il'JU~. ;..f,~t::a<: ri<.\H: that tsH Un:,.1.;~r'51ty crnµioyt,!·~:r : cw.:e;~l t.¥ios.e /Jc.,unt!
              t~·,.s a lt::t1'1I pnvilct.J•! sucn ii$ t1r::::nsca fl1f'"!Ji·:-al p:r-;v-;d":1 :t :;: oon5f'!h1r~; m C1..~~;;•.;;e!·n:1 -:tiul ht.S:Utli
              Se1\·iCc.~-s) who ;ir..c ;,,fonl1C:d aood~ iJ "it,.xu<€P ~,1c,,s(·~uP. S~>';.;,:•1 1n1:;.::o=lelt:·.:t or re1~1~10:·~~·iip \·t(:ICnce arc
              rt:'(~uirPO to rep,y·t th',~ ir~f-:>r~1Ft~ 1 ;"'J~1 rn .a Can1pus Reporting Contact c·r !Q •:,._· · 11:•· ;..\ '~u..,1d1nt~h)r {Ji
              O:i.!SH;ti1(._e

              ·; 0 ~~n~bi•: ~hC Jp:\'t,:~;>:1 !~,.t f•.''.tC'Y'.(; \·~I                 i!d n::.>;<t!'- .f1 d ~J(:f1l0\ itrC eq.::t..Jt; e ffL'1.i:it.'T U'P l)l\!'i<!"t'5lt'f
              na!.   c·~s:qnatt!'d       o-,.:   !::;HJ·:.jr.f; Campus Reporting Contacts!~~ rt'r!:'..l' tf~p<t··t!-> .·-./ ~·:.'(J:-l ~t::~~aut~
              •iCAUi1i 'r'WSC0P.\,t.;r·".,       rt;t.,~:<,'1"·«::,1L~ '.'•~!cl..'"!'.\ C d!      .·r «!~~;.Hi·; ··iu· cif~ ,r.";1!,J.~{ .-1 ,'l"·;.i. · ;.._1,·p.;r'1•1~:
              t_'~\!!LtCt·~ P<!~'.•t' t,~:.::•       ;i.-.t: ;J'.''i   l . t'   ·ik•-' !'It: (              ·:.l·..:ti'\t1·>~           .',,,rt'       ·' ,~:.:l·t"I"··          »•.'~·:· 1.• ~.•.,. ~. ·i·~: :~   ..,

              fPt_li.l•f(••1 !3/ fr,t·\~o'""'        ::•1·,   lf.•p•-·   ~.,'·.'ft·~·       f:ri•'

              P*:\'dCV :~nd tr~tt o:::·,. :!i,l!~··.1t.:r~                      ··1.H     r',!·.~      ,I




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               Reporting to Law Enforcemt:nt/Criminaf Complaint




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                                                            \.:



                            S!Uf Police Oep .. rtment
                            Emergency Telephone .Number · 91 l




                            Edwardsvilt<~ Potrcc                     Ocpartrn,··nt
                            i.·A; N '-tn1n     ~Jt
                            Ct!·:.odrC~.-J•!lC,        L {:.
                            :bl!.(~ G5b-~-':J1

                         D. Bystanders

                            Afl i(:J}Ortlpg '1PUOttS are avddilbfe tQ byStiH1C-e;"S. The i.'nr,;er':lily c-nLQHr~"'it.;t.'\ d!! rn,··nHI('!~ <;f ~.:-ic
                            Utuvers1ty comrnun1t)' to-take n:a.sonabl(" <md vrudt!nt steps tv pr.ev,-:nt or stt;t: :nc:(H:nt; r;J sexu.tu
                            misconduct. Tal<ing a•:tlon mhy incl\1dc :lirc~t •"lterv1pl1on wtu;:n safe ro o.;, so . .,11t1stw\j ;•w hi.,tµ of
                            friends, contacting the SIU!: P<)lit:l:l Department or other 10<'.af law enforc~m;;r-t, or scel<'•'Q ass1Stln(t'
                            !rOifl a pt:•rson in aulhO".lty. CriP:'i.fJlunlty r-neo1t;rers \•1ho ett1:)ose to excrose ttHs rmsil1vH, rnorc;i
                            obligation w•H be supportl!'d by the Un1V'(!rslty a"~ ;;roteded from retnl11:1t•on. 'lore •nfr,rmat1on
                            regarding bystander a<.:tion can be fotmd 'Jn rhe Counselin;;; Serv•ces W<!bsite at
                            htto:f/www .siue.edu/counseh<11;:1.
                         E. Anonymous: Reporting

                            Any ind1vicual mdy rnaKe an anonymo<1s reoort concerning em ar.t ol sexual assault.                                                                                                                      se~;;al
                            rnisconduct or r~tat!onst'ln) v1<1lence. A rt:pcrt cctn oc rn.!!de vttthoi.it d1s.:;io!l-1nq ·)!'lt:'s :twn ni'!rfle                                                                                 1
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                            •dentify:og the Resµondent, or rcq·J:estiac; i!ny .:ict1on, 0<'P~?ndHHJ of1 tht! 1(-:-v-c! of mfonnotion avrtllal>lc
                            .;iocut   tht~   H'ClOent t1r            tt'it~ 1ndn.:tt1~1.'.j/l£. 1nv0~·;(!{i,                         an<w,.;r't:'1d:• .. Ct'·tirti~O -:n:•y                            •~LP.d•·: ni~_· Ut'~'.. (·t~itv'i:;
                            atnr1ty lQ r('sponi.1 :)r takr: rurthc·r                                 <:eta:.~




                            Re.porting Considerations



                                        Con1p!i1:nar•ts ur(l                   tru~c ~-£:rt,· y.,~t'.H=\'){·:: ar{'. {~:1::c1.1rt-tq(•i,J.                                            l r.:•c·:··:t ',•; ..'.',, 1' ':•;•;11._,::.              'it!l..!J,;d
                                        t11!'.!>(f.)lhh.~C.l. ':.l!dlktP;_) :..111d ~·<:..0 iati ...·n"'.ll,p                        .-ti.•;lt.:n:.t;     :i$ :71\..11.H~ <l!-        t·'t..>:i.::.d.i•_· .,, •• t·J~:' t1.1 1:!tt.•11tol:.•.! U1~·
                                         un1vt"r~tt,·'s            .1t.d:ty tu re·:ioont1                        ~)r:;in:'ti't· <"lnt~               cffccti-..·ely              ~!,~·.·.evt"•.             ttH::rc 'S: ~i·"• ~.!~"~ 1trn1t en
                                         rCP•)rtin~~ \.'~·.)!dt1(y~r~                       t'i1•:, t:.:~1.:-·1            :t :Pt·       4::"'; :)dfi:!("•t             .~. ;·.._<,    •,•.nJ'     r         ~n 'P:'~ ;.1r e 11pi0;·r:t..'., t!H'




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                                         (Ond1,J(t tii(\t ;ot".:SC:-iPt:atlr Hlt•.:Orfi;:-ri:.;'S \·.·~th tr··l~ 1 idS"-J~·:;t' :-,:t ~n(; t)f1N(•f-;1:y inClvJttHJ !.°tut !:Ct
                                         hrr~1tcd          to, tn:erfc11;;rKe witfi tnc                               s~-:fet)·        Jno ·,·1ei1 ·br:1tg uf sr!r                          "'Jr   <;th<•r:S          \'~!~:;/or in~f·r1erenre
                                         w1tti the uca<l~n11t: p~H-,t;:!s ~""" (:tn;;i.,y;-rf!t1t ePV1"'.•il'fl(H1t vf 't:::. !..~•..id(~nt";i., f0i.:111~y or ~~l~tt! 1~
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                                         ,)•!y '.!loH.(Jf!ftr,        :ohr•tht~r            :ne        Corr~:~\;_}:c3~.t ·~·f                  .:    :"'·<tl ~11'1r\).', ;;l!t;! ~, i"•I~'., ::1·J.1,•,Jl ,,.,.~.iu!t, ~~·/'lJ.1!
                                         rlH:i\.:~~nd1.;,:·t :;! ft'.:l~H•UnSP,,J ,:,c;if(!n(t!: P'.t'.1(! ,'f"~'tJ:l;t', :q_'>:n "-.:•111~J • !1111,;::;1 ~~·,                                                                        ;;~,ill-/ •'10-;i•!;O'.):,
                                         re:rHt:d to :n-:·             µcrs.Jr'<·!~               ,r1i)t.... -sl-·:::·q   t.·t   .:.1L:..T''-"            ..:.:~·!.:' f:t~,9~, ;:·.;.~~1-:-:.: ~>i1~ dt.'.                              ~u;.:~     v •1,1t 10 1 ·"""'
                                         d1C      1   '·tJ: ilr11:J ~>:· n~::t     t"'   i~.::··     t:   ·.~ t.,,.;:!:tt1 ~,qc ~:1~<'1"i r;~ ~P-·C'H?'rf·-· t'l't~.t~~· ~:·                                       ~-~~- --:- ·~:.· •.ti«.:·ot~r\;,t..,,·
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                                         ;~ •.'"~t.1\~;HJ~:Ht ~·       µr   ~ ..   •c"                    "~   J_1!f):·- •         ·.r •' .. ~1.~        ~frq~·) '\., ,_,
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                                        n1;ttt;:rs,           ;   tv: ._:.:if)   :::c:;r1;1!0t~;v i: ::..·n' 1 ~!cn:1at re:ic'-l''.:eS                           .:in·ca1 •ip•Js drf!                   ti 1F: C•..it\htleat1al AdviS<H,
                                        C>!.,:.unse!1111;          '.~n::l H~ui~n St:::          .·::co;" ;1''i:ec at.\ovc• r                      S•.::cti 1 :~n       \'
                                 .i     1='.)i::iC    t:.;..,:p1)rt1r-.,;;

                                        rhe     Un1vt.~r~ 1 t'r takf·~ !hr:·~~·, Ctt'{ ('~; ;f',f~Y!l\Cti(1n ·J(-'"I ~;e;-inu:;r~·                                                      as a          c::t1d:~_::! Of S".!~\.Jal               ilSSdt..:!t,
                                        ~.1n.:..idf     rrd!'..·:;>;v.Ju::t ~*,i ·c;·1t;:)t"~n.p                        :!;:-f:1>•        ;1;11)   i':'\'.'!:0 SLV,"l'(' ::r-.-;en~.f•;•"'('"'-



                                        ;"H,-:dt: p1.1;1\.. t1<_;,,iy '.'•          -1\,·;.,t :-1!t;,~·,: r,.• ~···.:th-~·,;·.!;.;                       '•'•t;i.· ".            ~r.:;. :jJ;..~:;; 1i'1•"l; t     ,!,.t.:11"- ,:t1U 1n,1y ,1;~·-
                                        •;l•)>tlt~ St~!t..· ·:ri~?".if:~d 'i~dt·~;t~~·; d"1(;                          ~ ;'.:". ,i r_:-::·t,ll"(    :1t1;:f1 ia.;..,s               f 'H;., ;~iiw' .··~;,., • (i'J•.·:-i. ri,,;t d:J)i:•ly tc
                                        :~pvrt.s          n;a •.l::       if. :~v<.:n f:v,h          i:·-.1.:     ,. ·~ 1,.;· ··~·:b ~i ..t:~-::r1               (,.., :\ t.·     11:~·l>1"       d'·: 1:·..1! :;;.;1~~~.:;.F't·rl~•.!\.l Uv in



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                                        3(t1on.

                     G. Retaliation

                           Retaliat;on .ega:in':Jt                 E:t   studei:t    .:~r .::-ir:-   nnµi..:,.cl' ..:ho               ;-.:..!;.:(;r~._   ,,..t   .--i;•,,;: ·c:~,..; ,-,~,di c .;-»? ..:'olrit··<»·n of th::
                           P.?hcy. or who part,:q:rat•.:s                         in ~:n .nvcs.tic:atiu:\ ~~,f :.~ t..ornO!~mt. !'i- ;):iA•t:.,\,\t:U ~, ..;t.·d1a::.·.r1 t!;. tJ:Jt•:c:tr:\;
                           by Urw..-e'."SH.\t pollc-,,                   state   iH1C~ f<::Qi•r::i !rlo'l. H'.":. ~r, Vd•! f!J :f:: •..:q.·in~ ..... , "" ~,,.,, dlt.!~;t·.··:l"·L! 11! tr:\•
                           illle<;jat•Or1S.
                     H.    Response Protocol

                           Ti'e Universtty w:!! r<"spc:)t":<f to art re-port~ at s.e-.~1al ,lss;iuit, s.exual fll!J.C1Jnduc: t:,.1r re1at10n!ih1p v1otc-nC<!
                           in n tPnciY~ etfect1ve. orH1 cono;rs.t~nt mt:nner Factors the Uoivt:rstty rndv cons1fJ("' lfl cJctennmmg
                           which re->f)tn1s~ proccuur...:-{sl to tojir;t.•. 11xiu<l~ wn-:-r. rhi:.\ r(·port is ft!cd ,:ind ho .... th·: (Ot'l'tpla!th'lnt
                           cr.ooscs to p.rcc.c·:"d i :~~:- 1_:n1'-'\:r::1ty 5 r·~~f:.'".>f1~.::- :.,•rrJ.: 1..... ,~,;rc;::. :n(L. . . do. but ..H(~, n·:·! i,;1; t•;:t t: ;, U'h:'t
                           foJL.:h•tinq


                                         t\H t!ffi;;:h)\'\..J.;'$ 'liliCs ...st h-'«".~t·::. :.i! -;t:•tl.:'.~i i:S~dU~L s,:;...t.i.'!" ;1c1~;·.'~':·1~~;;: <,1 :1.~ '~!r,r-~/~~· .. n:~:!r\:•·
                                         .~1r{~ rt:::)ufr~l:! t!) h::0~1rt the ;fHr..arndJ;.,:p ~'f •:1- ...:~~ltt~!JU~ J:c;J-.,rtt''"; ,,_.t:::ta•.: "1!;,·.:·,: ir: .::.i..:::.:t1:...n ,:~ '~
                                         c• tnis ~r)i1C-1; or to t:1t• :1th; iX (~1GrG'!'?!!Cr iY J;:_•;,1,r:ty, u:·ic<.~ ~Lt.                                                                          t .. ~,;~li';11·1.          ,•;. ,)!'':;~h\10<;•:
                                         (.h,~itQlldh~(: ·Vi~: "c.:1f:dt-" 1:!1.J: fl:-s::.;ur(:_:
                                          i 1-:e    a:nou; f-lf:POt!l'1G .crj:~<:· .. ·,;q ;p~s~:,~ tr1(' t~:-!r11pl...-il: :1· t ;:• ·71•Un1r,, p~ ..t e:.;,1f,\ jHrlft!    1                                                                       ;11   ·J~n:q
                                         1.:), ~!·,::_· (;un:), 1:.; i~_._;pt:1!it·i, rt.:"'.'~ ..• ,;· "i:•<•~t1'.~hlt"' :<!~'.- •!·.i_· "-:!l;f ?«.-r: .. 1· ;"" ';h•:le·~

                                  ..:    -ia:        C~t:11rus Rt.'!tHH!l'1~1 •.~t:n:,~ct                       ·:;.ii ..:n.:,Ol•rth}·~            th.~ Cc·rr1piai-1..1~~t :;~ -;.t·0~ u~-:..rn;H 1r:t·0:::-:1i
                                         d:tcn::-t1i-, f~Jr trt"~J:t:~1i:·nt ,:;f ·o;~.:\(>•; cn 1.l ;..Jresuva:·l"rl 0f' -e . iot.·~: .• r:. z1h-:.:~:·,~ tt~t· ~·c·a'.Jun~~ ·.·of")'
                                         f)fGtl1pl rnt~">1tGJf !t(•i:tr:h:n! 1S 1n1;;:,r~(;;it, r)llrl i":~f,)'.l'J'~' fc~ trt1fi'.:J:,;)··\~t.~·.ri ::: ,~ .. t' ~l~·Sj.•:(t.11 ,, t!···.::
                                         Con1p!dHi11rit .._t~jr•:'~'.• 'J) ~~~i~~1-, ff:f.\.1·, ~.!' :i'r:d:r~\;J",~
                                  ·L      fhe T:tk· LX                   C:~,yc!na.:.or ·t1dl 1nt(1f1.;                 tni:..'   s:u::       P".'.'-'1.::; t.'I t~l,_. t,::.'·:r:. d !I<· :·,:~;_.rt ~i::,~. n·.::t
                                         Hll'°.:•i1H'1 r<:-ci:~i·~cr..t tr}· t 1112 f: t~,h:...o:·          :; •.,.;:;;.:: ~ .. \'-''lt
                                  ',     1tle- COillpia:na11t ,~,11: n;)>.,·!.: tilt.! Qµt:(:;< :o !,i\.." ,, u·nwit:.1! r •.:p{... rt ...,,t~·i ~114,: 5!.j:~ f'.._;l;U:
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        \'IL Interim Measures and Accommodations

                      r,    Overview


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                                     A Complamant or Respondent may rE<Quest separation ::>r otner protection, or the un1vers1ty may
                                     choose to impose interim meosi.res without ·' reqvest, to ensure the safety of all parties, tne broader
                                     Uruvenaty community, and/or tne integrity or the 11ivest1<;at1ve and/Or reso1ut1on process. The
                                     Urnver~lt~ will li!ke unmedittte dr.d respuns1ve an1or. to enforce o prc111o:Jsly 1niplementee1 measure
                                     aiid d1sc1pflnary sanctions canoe imposed fo• fa111.,9 to abice oy a un11;ers1:y-1,nposce meuure.



                                     Tiie University will implement appropriate and reasonat>le interim measures. Potential measures,
                                     which may be applied to the Complainant and/or the Resp0ndent to the extent reasonably a11e1ilable
                                     and warranted by the Clrtvmstances, include:
                                           1.   Acccs~    to couni.ell09 services and ass1~tance m settmg up intt1a1 appointment, both on and
                                                off campus

                                           2. Impoiilion       or an on·campus "no-contact directwe"
                                           3. Rescheduhng of exams and assiQnments

                                           4. Pro111dl119 alternative course compJetlOn options

                                           5. Change m class scheclule, 111c1ue1n9 t•w ab•hty to tran!>fcr course sections or wittldraw from a
                                                course w•lhoul penalty




                                           8. Limit at \in indi111dual's or organizatlon"s access to certain Univers•t>' tdc•lrties, lf'CluOmg 01mnil
                                              fac1lit1es, or activities, pemlmg reso1ut1on of the matter

                                           9. Voluntary leave of absence

                                          10. Providing an esc:o1t and neede<I tran<;portat1on to ensure sate movement                                       b<~twc~n     ciasses
                                              and act1vitie$

                                          11. Uphold no C•Jritact oraers or •Jrders of µrote:t1on i,;suect uy <ol11l!r t:c•.J:cs

                                          12. Prov101119 academic sup;mrt services, such as tutoring

                                          13. Un1verslty-1mpasecf administrative leave or separation

                                          14. Interim suspension

                                          15. Any othe- remedy wh:ch can be tailored to the involved ;nd•viduals to acr11eve tile goals of
                                              this Polic'(



                    Although a r11lwrt may come in through many sourc:c'Z.. tt'\C iJtHvcrt.Hty 15 ·~O•n,,,1th.·:1 tv cn~w rin·;. tlia.! ('ii r~wd!J ai c·
                    referred to Ille Title IX Coordinator, who ;Nii! ensure con... :s1ent ;;pp!1cat10" of till' Pol.1:y tc a11 "'u''>'0'"'~ ar·i.l illlu:•,
                    the University to resoond promptly and eQ\J•tably tu eh1n•--,;H•!               !tit~ h"r~!,S,rt)r:nt.   P.. !.."   fCllt ;~S o.:~_urt.~'',•: 1.'< d~l\1 ;j{)dr~!)';
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                    its effl."cts.

                                  A. Title IX Assessment
                                      The umver.1ty w111<:Onduct1.lf'l 1nlt1a1 11t1e IX .issessmcnt of ev•!ry co;nµlomt unoer this. Policy. The
                                      assessment will consider the oature or the report, the safety ot the 1ne11v1dua1 and :>f the campus
                                      community, the Coinplarnant·s e1.pressed prelerenci; f.:r resolu11on, and the necessity for any rnt,!nm
                                      rneasurM or accommodations lo piotect the s.,rety of the Con1r,1a.rrdnt or the .:ummu•11ty Where
                                      possit>le and as warranted by an ass.cssnicrH of' :nc fdcts dntl r iru,rnst;,nc;•<;, tc1<' t Jnl'1C"rs.ty "'ii 5ce~
                                      action coris1stent w1tn the Cornpiainant·5 rt.'Q11est.

                                      As port of the initial assessment of !he li:lcts. the Un•·1ers1ty will

                                       • ilSies:> the nature and orcumstances of the allegation
                                       •address immediate physical safety & emotional well· being
                                       • notify the Complamant of the! nght to contact law t.'llforcemertt and seek medical treatment
                                       • notify the r.omp1a1nant or ttic Importance of preservation ct e111c:e11c.•
                                       • assess thte- repOrted conduct tor the 'lee<i fe>r" timely warn•n'J ..indl'r tt1l' Cll.'rY Act
                                       • prov1oe the Comµ1ainant with •ntorrn11t1on i)bO•Jt r;11· ant:l ort c11:111)u'> rr.~•Jwc•~·,
                                       • nottfY' tflf' Con1pt"u1ant of the rdngc or :riter1~. i:'!t:('0tnrr,c;aatio1,~ ar"1 r~n1eoo·~~
                                       • provide tht! C:ompiamant wrtn d". ;;>,ptanaM·,r, of tne procedural jJrc;;.,.,s
                                       • tdenttfy an adJJSCf, Ctd\'OCatc, and.'Or support persr;n fer lh~ Corr.p:~lU•iitlt
                                       • assess tot pattern evide:nce- or :_.tr,<:r s.muiat C..tJH(.h.. ('~ l•y f..'•:StK1n1Jt:11t
                                       • Chscuss the Compla.n ..,nt's: e><:pres:.ca P"c+o;:rcn·:L> fry tnc n1.1Pnt.'!r o· '·.:-~01u•.1c:,.:·. ...:nc. vqr tJ.urr1cn; tf,,j
                                       proceedlllO ar'O
                                       • explain the Un:ve1s1ty'~ ocf\c·f 1;rot11\;rt1ny 't·ta'laH:h

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                the initiation of dn uwe1ctlgcit1on,

            B, lnvatigation
                WlleretJ:leTitle IX o$sessnient concivoes that an    1rivest19ation 1s warranteo, tt1t? Un1vers1ty· ... m
                lnJt:~e aB irwesti9atiQn. Before beginninQ an in11est1gauon, the T:tle !X Coordinator will contact thl'
                ComJ)lalnant             ond
                                     req~t-c.onscnt trom tht- Complainant to proceed wtm an investigation. As
                <Jl!!cuiffd aoo..·e, an ltWHtig11t1on inay sun go forward witt.o,;t the ComplainJnt's request.

                         l~ -~       the.Tltle. lX assessment concluaes tr1at a<l mvest1g.:it10<' 15 -.·;arrt1nt·~(J. tlle Title IX
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                              :~'~HJ._~nt<:ompl.1inl Procedures - K5 ~. 3C4.
                         2i    I~*s~lf ..-~~,RJ,tspondent ls a student ancl .where t!'le i1west1gator !Ind$ ttl!lt by a
                               ~~ of .tho evielel\Ce the Polley was violated, the invest1911tor witt rlO{Jty tne ·Oean
                               of Students that a vkilatiOn has occurred and will make a ..ecommcndation fClf' appropriate
                               dis('iphne. tr the student Is a graduate assistant CP" student wQrkcr, the: appropriate
                               supervisor ano the D~an of Stuoen~ w11i recel~ notlfic.ltio11. 1 ho<;e wll1) werc 01i9fnal!y
                               notified or the comp1a1nt wi!I receive                                 ii   copy of the wntlen reuort.

                         3. In cases where tile Respondent is an ;;rnp\oyee. the investigator w!ll n;itify trw Responoent's
                            !Jupervisor that the .nves:1gatior1 •s complete. arid ,fa prep•:JtHl.:-rnnc,; ul tr"' t:•·'<.Jl·t1•:c
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                               copy of the written 'epnrt.
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            c    Appeal Process

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            D. Substantial Compliance
                 Substantta; con1p!ianct! w1u1 tht!S~ pn:..u~ua·~ J~\aa !>t: oe-enu..:rJ fu; 1 <:o-n:;,•1anct.: ;f ~nc p,:1n i
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            E. Sanctions



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                 ;urikt1 to
      Case 3:18-cv-01668 Document 1-1 Filed 08/30/18 Page 43 of 49 Page ID #46
Policics & Procedures· '.v1isccllancnus - Sexual :\~:-;•rnlL S,·xtm! \li~1:ondu1:l and Rdati ...                                                                             l'ag\.· I 0   ll   rl!




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                Ofl·Campus Resources,
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                  ''1. Attribution

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Policies
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Miscellaneous




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         ·,J;;p 1•rp.:,:tv.         ,'\r~t;<:" Jn<.~       T1:f<'"": i )'   •:>n'.'"'<J1tL~:,,.,·1·,   .'::D/·. : (' .




         Sexu0li)' expllc.1t n:luten~,J5                       1n   t'H· "·n~c·io·~i- C' le 1r:n 1                        "
         1~11vn1~Pnk11t fn~ err•,ploy~..:t:s a1;r1.c:.~~:{~~~ts. ~H:~:h 1~'iil!~~~:.1h
         1   qrnpl~•ti'it of "•}'<Ual ~·~·ira::..sn'l(•r'"lt rn:ly :ncl~::.:i·:; ulk:>-ii:!\<'.Y ':)




          \11y !lhidc•':t,          r.rnplvye<:. partH.:il>bnt                    !tl d U!1 1Vt.•r51ty S~HHl'.c(1l1'.'()' .·: r:v1!             t                            :,•       :'1•,: ;11.>{;0, l dVl":J ~.'.)llfd(,f ;J.:l: :Ii•" .):1l\;•. I'.·!~\' !Ile!',' ut111_:\~ th· f:1Jlr
         in~Prn1.;1l prod~dures, Qr 1n,;ty pHJ1'"'~<:C tH:cctly t0 t11e f0rr·1 ...d p! '.J1. vd•. :n_..                                                .:, ... ·,._ . 1·:     '<..'i       :'• td•        ··,::-lv•P<j ~H·: •.,i t~:;.";·, ~ ~J·,. ... ;.,! ·ntJ!1.ri1....:. ·r-;01·r-,~1l l)•u.

         P1.3.'l riOi b 1.' U<;.f!{!, ;\ t"00iOfain\ •~1tl)' !){· id,~~1 ,1:;.,,1:r1~,~ ) ;~l11;Jt•t!'                                ·::~r;'i~),~'t'..                     ,_,..d                                                                                                                  ha .."·,;        ;1.

         \•11\h t!H~ Jn,ver;;1tj' .




                               •.   Ccrnpl~l1nunt~·       ..::rt.• ,.,nc:...»...ii .1:_;•-0 :_(; seek              ;.:-;t;~;,•,_-!;                                         •,:;,._ '.   ..
                                       if <t t 1S'lpidlni, v.-fr>,'f:i •. ·r                                                                                   · ,_,.                                                                                       r . .i'.;,)•n'>t ,\h1.1n d . ti•~::r·
                                       hr:·\ugri~   3   ~t.;p(•r., i~(',t                                                                                                                                                         ·~1~u1u:i\')t, 1h~'.           ;:.:·,,:1J\ hJ!·       ~Lt:

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                                       (t;inµla.nt, rn:.i::.t !Jr•
                                       ;e,:~-:-,,nn.1nl~' :~n1n"
                 h       '~"J..u;;;I    Ha:r Jc;.;.n-'<~·nt    ir.tc-·




                                :      1~·:1onr~d       i,1f't1r:m.; that ni1Jht                            1 v·,
                                2. University             pohc;        '.)(!   ~-(!'f'.UiJ! !:.Jr;~~Lr"'f'
                                J. Jp:Jl•C.:l:=tlc        st~t~       ,tr,t1                            n     1, .. ,;,
                                                               /(Jt)                                                                                                                                                                                                                                                      'f1:5ft
http://www,s1ue.edu/policies/2c5,shtml
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                                                                 P0lrc1es & Procc•dures • 1v11scell<ineous                    Se""'' H;-irnssrnent Complaint Procedures • 2C5 & 3C4




                    1 '.\1cct with tr1e rc;:,ponot:nt
                    J.
                    ), s'l<h·ise th0 r(!·~P(md\',nt of U'li.~ "1l!C«':,!.·:·r                                                                                            tr'~r·,~;•:;n'.\it        '.i'•'    111·1,.·,~'']ittior. ;.HW:~:~:..
                    ·L lnforrn the n.:-;pondt:nt t11 ht•,,.                                                                                                   ttfl i:::u·11r1;/, i;:CCtAH{)Jlly :h.:n~ :fH(11HJhou:. tW::'. ;;1o••"f"1;P1~;
                                                                                                                                                                ,";n f :•·.::son chr1~(~1~ '»'I : l'e respont!ent 10 ,1L1...0n1pt1:\v :1w
                           \1er through tht:            !lroc.~.:sz    niay no:                                                                              'H. . t'.'Pt :<.i n1•.• {·>'.t-:~nt tt'ai tlk per":>-On rn;1y lH: J ·,•:1tne:::::•.
                    S. Adv1$C tt1c rt.~$p-anc..h,-:-r1~ lh.:.t                                                                                        · ''"'''"'"" of St"Ji.u,d ~'.dt ~~~,... ~!Writ 1<~ !>lnr:tly f()rh1ddeP ov
                           UnivPr\rt\t        ~)ohcv.
                           t.!IO\\ t'"'t: rt-.:0$.pOnOcnt nve t ~
                    7.     r~d,:1sc     rJH'." 'esoondcnt o! h:'>
                    ,:; f~vtify the respondent'~ ci~1p-.~r·..1$or of tli•; <;,m;pl.1w1, ,f .,10ph i1!:i•
                        L.J-S-t! of Other er0pluy1,:ci.. tht:: .$lJPCf"V·1Sof J~ 1 \; t11~:, ;_;·11t q,~ H) ~·.:i: Uc·
                        !n t11e cv.:;'it tJh: re::.PtHHJt>:~r- ,.., ~: ..,hHh~:H tL1: ~) •.:;1:;, • ~;~.~,,1.;•1·~" ,-_
                           ;~oi11npr·;;ne ~vpt'f'1•'.•tP
                           ~th0~.,,1. ~.1nd i_;~,(·




              A; (·!11   •:,t,::,9t~    ui   tLr~   nroc1 ...;t,, th•.:   t:C)i~   '"ill .1.-;.:,:-;.;< \«h1•!f'i1.:r   ~·1               dn...:;   ('~~~·p·;~;: t~:
                                                                                                                                                                 :t:'-""il·•"' :r1: curn;)l.;!'1'. ·r' tht.:: le~.;;t 01~n.. ptn.1i:. p:-r11~~r1
              .~nt! t•J11fql•.:nt1al !'!1anri:~!'", P-1!'..i 00901ng a::s<.·,•:;:,;'Pf·r:~ '•\'I\                                                                       ; ~·',etJ;,;tr1.;· '· «1 p:o1>•.,~.,. wi•t;rc th•.: P<lrt!•'« •',
                                                                                                                                                             "~"'ffi,)t;nn
              d1sa~vf2ement              resolve tnt.::ir <Uic1 ':i'H.t:~. t;y .J~rt•c-rrh n:                                           ,ri.00ni:ll :n~;(i1,.!\(1f ·~r;\, Li:.:dit,~tt:J "' Jt;:::t.d\;L•)n in~ fH1v,1h ;: >:l
               ,,nfit:t~titldd         seum9J ruuf'.J t't>t.· n•:n(•!:cdl ,_w•n, ir !!;. 1                                                                                                             nr<~0;~;P't          tn~; r:orrj;~!il1f'.t:r1 :
              r.:•!;J1on1.~(!Pt    will      ~H' c:~tert:·tl   Pit'   '.J;1:·1w·t~;n1!·, t~:


              Th•: f~Q/". '.'.'!!!asst!'·~.;. •:.rnr•t.rti~r :nt1~,..1tr1          rn•,:r)Sur, ... : tt':'
              c:n~v.-..1   sity   p(~rsontl('l,




          H   ;,. CCT>Jc:: \\'hCl'l:. th(~ r<-::.p;;c<J.;:ri:.. ,~ ,!·1 ~:rr1LJl,·Y~'·~'.                                                                                                                             s   \.0P~;lh~tt"'.,          anu ,f ,,       •/i'~l-~l       .,   l,


              o,·1·ufrt•(L ;•,1!1 ni{tk':';      orr,rnt~"..,~·'.'lt       !er dPrH,_,.;>1               1 .:t~:                                                                                                      or ti,ndb· not: 1 1t:.>~:                    n11·
              (Ol"iplvmt .·.iii r<:-cviv(·..,;             c.t>~}\   •JI tn:._: ..•.~1tU;ri   IL·p(:~:


              in                        rt:SPtH1l11?nt <;; .t ;;1.udent an.,! \'J~>·'.rr:
                   case~ \.*..-'llHrt~ tt1P
              ri;te:ct or a corn;llaint,        i,r'\' !::(;;. -..·.di no~1ty 1Jv• ~).:,n                                                                                                                                                           :~n~;: ~,.:v

              dU.t.>rdin~: tt• $et.t1un ): t..f t ,,-.., 1:0L(·1 If th•" ~t.Ll•·P' ·~ ,l                                                                                                                                    .:r ''.   !·   «:::   :~l')1' ,,,j( : c.•:.'
              ·iot·~'trtl~nn. ~t·o~:'"· ».'.'nf; ._v,;_,.,, ,.:::1<;:.'',~I!~ 1      < ·~"

                                                                                                                                                                                                                                                    :'>.   ;:.i: :r'
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                                                                                                                                                                                                        \\   \~'~'.:-·.~ ~l'-1'. ~ ,~,;~l{Jnd•·'n\




               /, comp!d '1l!n: rna /
               ; OU1),      MO 6J!03'.              ~h~'                                                                                                                                              , .•• ('<':




http://www.siue.edu/policies/2c5.shtml                                                                                                                                                                       I                                                                               215
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                                                                      Pohc1es & Procedures - M•scc!laneous                                               S<:>u;u Hilrassmenl Complaint Procedures - 2C5 & 3C4




                                                        ~'r
                     ,.;;1qr:g. Trh'' :;r·xU-1:1 ~1.H;t~;"'n'~'!H
                           ft:.-n~;}h.:s and rerirc:>.~nt .JJdition~)I t~:'-··~>·:.>:ty,

                  ;; Sexual Hurassir.cnt P.:tnel Sl1i1l! he Lornpos(:<d ot ~l1n.•r: :nf'ft11lt::1!'>                  rii·~ .Se~.:.1~JI Hdrd~StP .. i"1' :::i,",:ncl Pud. ~·~'..Jnc of rhe t.•1r-•"'•: par\ci ~r.i.:;mb•·r~, ~•Ii.di·.,.
                  dt~1Wf'l fron1 the Sii::Hli(~ SChOOI, C.1.:Aie~Jt.:, l)f ;_)( ht.:f 1Cp(,n_in9 ..~n:<:1 .~:.~ ~:•U'H.!t th1.· <i:Hnnt.w·1;:H;~ (;r tne n~ .;pondr:nt. ._.•iillw 1 tf •r ·~•: ( J; \'\l(•t ;..n;9 f'J._1 f~· pl n, :,,1 l{!" < ,•
                  UH? not1C(J of ?ppP.a.L the EOA s!iilll select the n~rt':e member-;; 01 tf-1{ 5')0:...u~i! Hd~.ts~;m~r-...r, r·a~··;I, tak1r:o .nt0 ,lf:t:rn.1nt -.u~h ~~J<Jors "'"' tt1t.: \'1atut1~ fl;''\<'
                  complaint. the prior experience and z.;va1!tihd1ty uf the eh•yblt· rntornb•H~ ~'ii Uk t-'1;ul, ~HH; .:•quitdhk tJt;r::j('r r1..:fV{:S.::~nta~10n on u1c Pi::ir1t·I. f:dt 1i qwr:dwr ,;;
                  tnc P.anet »viii be oro\<1ded INtln d copy· ot !he C:Ok report.




                           2. ll•nrn1q St~V•~n {l) 1NOr"k1n9 cay~~ (>f r~ce1:)t of fr:~"; n"::)<"•d fn,Hc-: ~he i~Ot~ ddv1•;,; th•; .,0mrt1i11n.int ar,d ie~. . ~o;H;o_~nt ot th(.! dat1; of th(~ h.;.«:1~·1rvJ ;H•(; ~i-.-
                              riqtit tO ha·:C an ~1civ1SO: (1f then !i'>Oh.•-~, ;tl\l,,H:~n9 d!C :)!t;;r:      ;>1•:!:.. ;•tt tqlj\n}fl'...IU~ ~•-1(: 1 '1l>-J1,:1~)~ r\;y.·,::~·•:r, 1-f~,iJl~H!ldlll d!HJ rt:~pui.t,lt:H!. ;!it'



                           3. V/!thjn tt;n { 10) wo1'\..1na dd'f!-> '" rccci,;! r·f                                nit~ ~:.:.-i:v1~      ~n t.1-oul·- ,:       1,-,),i:
                               mfr,rnidtmn. rebut .;::•.:.(Jt.!tl<:.,, aria p:t•!:'~t~P'. ~·.·-tr,._;,.,".,,'<; ir, ,,;~~·· 1 ", ,1~·.'1;\·>1'C
                               :+u..:-s.::1cn co:n:1lain.:1rHs, >J'lC qucst1tH1:;. ~~t1:1n ::(; ;1:-\)\';•.!t>d ~c· tt·c ;\1;1.-i C:n1:1
                           ••, Alh.>~·~ tn•..: con1plllm.,nt ;Jn<i '.,ht~ tt3.-.P<.HH1!'r-.:                     p·~··,•:nt t:t..,t,\'<9 \h·"~ •,· ,:1"'' ~1•.!«i'«,s;. ir1 [.·'~·:•. 1ll\.Ohn;') .Jlh:t.;JtHin~ 01 -..1J:-:1..:dl ;:dh.!P(v
                               t (1H:;Jli11tlc111t..:;. ..-.·1!1 nor th~ r,~t!UH,:,J to t·uv•: ~.1u>-t11-~;v:··· (·~nT""ii-~ Yo",!' r~~:-..;~~>ndt•;~t ..,
                           ~. \·Ji:hin ten ( i 0) •">'Urk1n9 d;l·,·"::i- ot tl1e u;n~ ! .1~;..:on rd              lir:ar.;hJ _ J1.::t•;P11nc \'J'to•t r;,•: t n1: :., .... '..~..11 t'";H ~::,.,::·(~r~, •.~011 •. y 11,1:.: b('en v1oldti~ll ,:p·,(t ;)r·,:·::d· 1• .1
                                .-1ntt~?fl !"'.JP\'-~ N tht! Puner:, fmdmy-., r L•f"•'/t1~JC<!'°~ dl'i{i t,"P<\ 1•',"()i:;'1)· ·1.·1,:i:.cr-:··. f.::)1 ;~1n,·:ion"
                           h. \'htftin t•~:l ( 10} \"t(~rii:.inq cl;,i·-:s, (J{ n~ ... l:Qf1Ch S";u '.'f ~~~I~ h~·.:;r'.n~;. ft'!"·~dl d <1 ;,;;;,., td Uh: Paqt•I ~~ f\~p· .. n u f.lh·. IJIHPldl'ld!H, n:!•POf'!t1enr, .awJ t i ( ' ~. J,\
                            l. lt thi; Panel makes ~J tinchn<J th~lt the ~exu:ii tfar,'.'!.:Sit;C:t'i P:~t''""' ~'.. 1:-, 'J1)!.!r.,·1L u-1. L:Ot.. wdl :,ir,•J.1r1! , :1_,pv rY liH: J1ant'1' 1: 'PNln. :r,~!uc~m~:
                               n.:c\1mmend3tH>n.5 for ::;;-jnct1on!;, to the ap(H(1f>;<,iH: !.1rnv0rfi·1'.y p··i•..... ;,nl'f tc: t::'l;:k~~,,~nia:;o•).
                           $. \V1thin ten ( iO) "'.:orkm9 Gi!\'5 tJf rt~n:~1p( cf u~r" P.11'(•!'~ ff);w~: dnd ;.·.,:J•~•t•h":HJdt",_. .·.,tr.·~ tt~1prvp1'!tl1~· <.)111·,.•.H'j·~y :>-•r·>'>f"':nel W!ll ;n~po!a: sa:' ·~:,·, ·
                                 a~   oeerned uppro-on.atc.



                   W!thin frvc {5} workin9 Cnys of n:rt'.'._lpt of th~ S1:x;.:d '"i..;1ct:-~·,.1~1·~1~! Pi1r•t~r..., r~:::J~H~, t~1tiH:r th"• h:5ponde:nt ',ir ._::,)rnplJ·qnnr m.iy prQvide \•.r1tte11 nuta_c ,/
                   ,-ji)f't:DI lo ttw Office of Uh; Chiin::e!lo·I f' 1t' c~,,~~l'U.:llnr :;!Ji r··~"/il_'','. • :'\(;    ,:·1~~ ... ti:~:r 1.• ;)h1)ld rt".(;f'!f: ~;\C '<>kl !';,•;Uf• tJc1n9 ,l:JPP.1le(l 'f.;t011:1 trn . i'
                   ·.\tV~>nt_J d~tyo;, ~H l•~".:·~1pt 1)1 th(• 11f)()·".'.!l


  ...
  U'!




         All p·;HtH~~ invulvt!d m tne con'01a1nt, i:\\,'t.:'...~1gat1on .·,nc: .:;pp1:zi11~,·,,u.:,::<.:~- -J:-·:: ;~1.:d1q;1tcc1 h~ ;;1,_Jit:1. 1 !' :· ~Jr1 ... 1t'; "~ .111 ;~t-1<;,,;'1~. ··~ ..w·l 1.-;:1!                                      't1..:· tJn,,p1   "''•,,,ti~ d·
         •P.~v:tJ11.'.lbl.-:: 5t~ps
                              to ·~115\.Jfe conf1dentwhh, hO\"\f:Vt.!r, 1:rwh.l·~nt1.;~l=tv c:v1:~ct ~h: ~:... ...!r •.:;1:·~~:-.l




         1rw t:>.u:Ptlt,Hl of C'Oll"l{)fdi:'lt-;          ,)!   ~·:·rtu.JI ~··Olf'.'nn: 0~ Ct~"<<f ,_:r,t~"<ir.\J!                   •r,;n·••_i-. ;;;!rrCi·:n ;:, !,1\'. t_t !nr·~t .. '•·n' -!'I'-< ,,:.•l1r >' ,t:·.o r-0::.1i1tr.. ~ p1.;•Ct:(hV(.,\~, do n,•t •l;i;ii\ i ,
         1.ornplarnts or d1scnm1nat:on w1t:i respt::ct to other'                                          ~_.r,.>t~·t.!t~d ;::;1~,,,':g;.:,~-···  f.,,;n, 0i:;··1:._, 11ile-.>'hl ':1.,:_n:?,\:1t::1nn c1:id t"V~1'-'--,ll't:1H .~r~· o···..-•-r•·d ,1·1 t11,· l1r1.·.,•" .... :,, ----.

         ht! 1mpJ1r~d Oy tht: Pt"r'S<)r;'s. pursuit :::t r<:m~\CH~:"'> (11.1~~1{1(• :r~•: t1:·'.\.\'."h1t. :J';.t:       :···,.._ :Jn:;rl:d11r~? ,,,, :-·o~ a :l:--~·n~:J1,.151if! to !n,·· pu•.::Ot1 1: c~ :J~tle: .. ~m1~<h-·~;,. :r:(l,,· a\,
         •;hould t:c aware that the Ge.:H11tncs for fil1PO a ..:hcrGt: w:~t>                  ltiirH_,,'.;; u~.:(·.:rt:•,t:H '~·f r\1:1lfH. r19r1ts ,1qo ~·<1:f, rh1·· ft•t;(;•a! Eu~:dl En·p1~··.,rr1r:n: O:.':'·Yt\i:«
         Cr.>1""'Hl~tS),l,10n Ji<: no ltHi_'' tl;.;,in 1BO ~;nc 300 n~v-:.. ·1::..oct\1vr:iv r·;lld~\::.9            ~·:lr\i''G ..Lt 1.Y ~,c(,~;-~! ;)~':1~·1:..':-•rw~~·

   iX.   Sub~tantiol Cornohttnu~

         Sutl~ldnt1cl t",omphanct--              with lth~SP pro(t.. d<lre!." :;. 11.:JH b\• th..'•:r" t'.Z: ~u!f n• ''r<!•;;r'{                           »     ,•

         f   nused    by    t~e   Jctu;:1I   orocc-dun.: 1.•ist:d.




                     ;'~here 1$ i'.1 f11 1d1nq        ,::,f   ..;_~;:\1.Mi hdi r~~)-:.;~wn: J:f;11·;1;:;f {:
                     hrni!t:d rv

                                Apuk,g;· !t.:' tnt: -.·1eti:-r1
                            ; , Advice und C•.)\..Hi.,,e!1n9
                            J, R!''~ll':·!'.~d 1.itt•"nn,:vi~ t• ,;.:~     -..._,.,    ~·I t'.~i~ /1·~:~11···'1   <•        ,,   f>-.'

                            -!. \t/f i::(!:i WMH!:';(_~
                             :.;. Le:!e' n! ~e;J:-,:~ano
                            .-... ~.~n1t,v•J! n: ~~;),•;,alt-.. •.')
                            ~.   Rf:cuirect     .::tttt.·nC~H)(:: J~ ~.1:: .... •                                                                                                d   .t

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                            9 Lo-:>s p: :t~(H '-' ;:."is, .... :1;;~   ·r_.:~n·

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http://www.siue.edu/policies/2c5.shtm'r /                                   !''        /I,                                                                                                                                                                                                 315
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5/14/2018                                                       Policies & Procedures • Miscellaneous • Sexual Harassment Complaint Procedures • 2C5 & 3C4
                           l :) Chail(ll:!   q(   JOO     Ci3S~. ~h'_,;gnrn1;.t>',
                           ! l. Sus.pension, ;Ynb.itrf>11, tt:·1 rr-:11;.:,t.;.-,;--i
                           12, LO!)') of t''t!(f>S~ ~c, :lli:.      ';:I:_.,.




                             l Apotogy to !i'H.~ '-.;i(:-m
                             ; ' \.*·f>itt~n. ~-.·tjf!1ifl•J
                             3. !...~ttc1 t•! rcpqrr:;,:,nd
                             4 Kcrnov~I of ~exu.1ll-,, c:- pi tot mat~nat
                             ':;:, Proh1b1ting stuoe-nts frc:rn hok1in«j otfo:~  r-z::rt~·~1p.~:·~·l                           ,_,n~i-..',''-~    :-tH..,:1       ~po:::;, ~·v•·nb> fo~      a ~pt•t.dtt!d timt1
                             !-., Transfernn9 the student to z,r~on1~r ('!a•;:~ er
                             ,. . Dist1aruJ1ng or suspend1q9 a ~ocial orqarnli1t 10t'> \.~r other· :;L;t~cn~ ~lfTH1P ilhoived 1n S•!Hliil Odrass1rh:n!
                             S. lran~~f.!rnn9 ~!udents. t1'1 d1H•;t.~:"lt t10u~.in.;_J cw pr0h1b:~ 1 r:q ihr::n, tr~Jr~~ :'1~n9 -'i .n~tit•.Jt1t1nJI IHHJ~1n9 t.--1dH1c!)
                             9. Kcqu11,ng    attendt!f.C•,~ 3r sut,stan<t. . ~~~!:J'.•' ~,.:JiP·n~, .~ ..>'.:';;'4\,:r.t_!~ .!i''·;·;i· \·,"v' 1•\·10!..-i:-:1;
                            10. Rr:qulrHHJ relcv~nt u:in1murnty s1::;"..1C~-·
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            !11 dC01tion to t:lt~ prov1~1ons of !Ht~ P~:IH y. HF!tV!GUdl~.- >;.-.'h,..- tt!fi 'v1.' ~'~-~· :r-r,v                                                            i·,'.:~.i 1:1t.Ot>   fni   't':;, t'°:l'.11' (,1'».~1.:li !11it'(ISS1l1l:'f1t i1lh~~J1lf•U!l~, 7" ..-.'
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